






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-0069-CV






In the Matter of D. L. T.






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. J-23,454, HONORABLE W. JEANNE MEURER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


	After D.L.T. was adjudicated delinquent by the Hays County Court at Law, his case
was transferred (1) to the Travis County District Court, (2) which committed D.L.T. to the Texas Youth
Commission ("TYC") for an indeterminate sentence after considering D.L.T.'s stipulation of
evidence, a court summary from a juvenile probation officer, a Child Protective Services ("CPS")
placement report, and witness testimony.  In two points of error, D.L.T. contends that the court
abused its discretion in conducting the disposition hearing without receiving evidence of the facts
adduced at the adjudication hearing (3) and that there is insufficient evidence supporting the court's
order committing him to TYC.  We affirm the trial court's order.


BACKGROUND


	D.L.T., who was a fourteen-year-old youth, presented the Hays County juvenile
court&nbsp;with a signed stipulation of evidence stating that he had engaged in delinquent conduct by
committing the offenses of theft and unauthorized use of a motor vehicle.  See Tex. Penal Code Ann.
§ 31.03 (West Supp. 2007), § 31.07 (West 2003). (4)  In the presence of his attorney and under oath,
D.L.T. stipulated that in Hays County on or about December 4, 2005, he appropriated a pickup truck
with intent to deprive the owner of it.  D.L.T. further stipulated that he intentionally or knowingly
operated that vehicle without the effective consent of the owner.  The stipulation states that D.L.T.
"confess[es]" to these facts and that they "are true and correct and constitute the evidence in the
case."  His notarized signature and that of his attorney appear near the bottom of the document. (5) 
Beneath those signatures is the court's approval of the stipulation. (6)

	On December 19, 2005, pursuant to D.L.T.'s stipulation of the evidence, the court
adjudicated D.L.T. delinquent for theft and unauthorized use of a motor vehicle.  See Tex. Fam.
Code Ann. § 54.03 (West Supp. 2007).  The court subsequently signed an order transferring the
disposition phase of the case to Travis County juvenile court in accordance with section 51.07 of the
family code, which authorizes a juvenile court to transfer a case for disposition from the county in
which the offense occurred to the county of the child's residence.  Id. § 51.07 (West Supp. 2007). (7)

	The Travis County juvenile court conducted D.L.T.'s disposition hearing on January
25, 2006.  At the beginning of the hearing, the court noted that the offenses of theft and unauthorized
use of a motor vehicle had been stipulated and adjudicated.  In the stipulation, which is signed by
D.L.T. and his attorney, D.L.T. "confesses" to the facts of the theft and unauthorized-use-of-motor-vehicle offenses for which he was adjudicated.  He also agrees that the facts stated in his stipulation
are true, correct, and constitute the evidence in the case.  In rendering its disposition, the court stated
that it would not consider D.L.T.'s felony-theft count, but only his adjudication for the state-jail
felony of unauthorized use of a motor vehicle.

	In addition to D.L.T.'s sworn stipulation, the court received facts concerning D.L.T.'s
delinquent conduct from a court summary provided by D.L.T.'s juvenile probation officer and from
a placement report provided by CPS.  See id. § 54.04(b) (West Supp. 2007) (authorizing
court&nbsp;to&nbsp;consider written reports from probation officers, professional court employees, or
professional consultants during disposition hearing); see also In re J.A.W., 976 S.W.2d 260, 264
(Tex. App.--San&nbsp;Antonio 1998, no pet.) (concluding that court could consider detention center
reports that neither party offered into evidence during disposition hearing); In re A.F., 895 S.W.2d
481, 485-86 (Tex. App.--Austin 1995, no writ) (holding that court could consider social history
report during disposition hearing).  The juvenile probation officer's court summary revealed that this
was D.L.T.'s first adjudication; however, it was not the first time he had been charged with a crime: 
D.L.T. had an aggravated sexual assault of a child case that was dismissed pending further
investigation, a pending charge against him for unauthorized use of a motor vehicle (unrelated to
this&nbsp;case), and an active warrant for criminal mischief.  The summary disclosed that D.L.T. spent
two&nbsp;years at a residential treatment center and had been placed, unsuccessfully, in two different
foster homes after his release from the treatment center.  The summary also contained D.L.T.'s
admission that he has friends who are gang members.  The probation officer's summary concluded
by recommending twelve-months' probation, forty hours of community service, and counseling for
D.L.T., but it noted that he was eligible for commitment to TYC.

	The CPS report (8) provided to the court stated that on November 22, 2005--shortly 
before his adjudication--D.L.T. stole a car from his foster parents, abandoned it in a parking lot,
and&nbsp;fled to his girlfriend's home.  When a caseworker asked D.L.T. why he took the car, he replied
that "his gang leader called him and asked for him to report to his location."  When asked why he
was at his girlfriend's house, D.L.T. responded that "his girlfriend might be pregnant and he went
there to see how she was doing."  D.L.T.'s foster parents informed CPS that they could not trust
D.L.T. and requested his discharge from their home.  CPS complied and placed D.L.T. in another
foster home.

	The next week, according to the CPS report, D.L.T. and another person stole a vehicle
from the campus of Anderson High School and abandoned it on a train track, where it was later
hit&nbsp;by an Amtrak train.  Four days later, on December 1, 2005, campus-surveillance cameras at
Anderson High School recorded D.L.T. and another person stealing a van.  Afterward, D.L.T. picked
up his girlfriend from her house and failed to return to his foster home that evening.  The Austin
Police Department and CPS were notified that D.L.T. was missing, and he was placed on runaway
status.  CPS later learned of allegations that on December 1 or 2, D.L.T. broke into the home of his
former foster parents and stole money and electronics from them.

	The report also disclosed that on December 4, 2005, D.L.T. and his girlfriend were
arrested and detained in the Hays County Juvenile Detention Center after being stopped by police
in Dripping Springs for reckless driving in a stolen vehicle.  CPS informed the police that D.L.T. had
warrants in Travis County for theft and criminal trespass at Anderson High School.  The police told
CPS that they would call Travis County to determine whether D.L.T. should remain in Hays County
or be transferred to Travis County.  CPS also spoke with D.L.T.'s juvenile probation officer in
Hays&nbsp;County, who stated that "the recommendation for [D.L.T.] might be for him to go to TYC." 
CPS stated that it agreed with that recommendation.

	The CPS report further revealed that D.L.T. was not progressing well in therapy and
had problems in school, including failing certain classes, accumulating twenty-four tardies and four
truancies, and participating in three fights.

	D.L.T. did not offer any evidence at the adjudication hearing.  Because neither party
requested preparation of the reporter's record of the adjudication hearing, it was unavailable to
the&nbsp;Travis County juvenile court.  However, there was no objection to the court's proceeding with
the disposition.

	The court heard disposition recommendations from D.L.T.'s mother, a CPS
caseworker Carlace Gilbert, and representatives from Court Appointed Special Advocates (CASA)
Ferdinand Stehling, Juanita Stehling, and Lucia White.  D.L.T.'s mother requested that her son be
released from detention and given probation.  Caseworker Gilbert testified that D.L.T. should be
placed in a residential treatment center, noting D.L.T.'s unsuccessfulness with alternative placement: 
"when [D.L.T.] was in a therapeutic foster home, he broke it down doing all of his behaviors." 
Ferdinand Stehling opined that D.L.T. should have CPS supervision and be placed in a residential
treatment center.  Juanita Stehling suggested, "In a place where he gets much therapy."  White added
her recommendation that D.L.T. be removed from detention.

	After hearing testimony and considering D.L.T.'s stipulation of evidence, the juvenile
probation officer's court summary, and the CPS placement report, the court committed D.L.T. to the
Texas Youth Commission for an indeterminate sentence.  See Tex. Fam. Code Ann. § 54.04(d)(2)
(West Supp. 2007).  This appeal followed.


DISCUSSION


Standard of review

	Juvenile courts possess broad discretion to determine the disposition of a child
adjudicated delinquent.  In re C.G., 162 S.W.3d 448, 452 (Tex. App.--Dallas 2005, no pet.);
In&nbsp;re&nbsp;J.R., 907 S.W.2d 107, 110 (Tex. App.--Austin 1995, no writ).  Absent a showing of abuse of
discretion, we will not disturb the findings of the juvenile court.  In re M.S., 940 S.W.2d 789, 791
(Tex. App.--Austin 1997, no writ).  A court abuses its discretion when it acts in an unreasonable
and arbitrary manner, or without reference to any guiding rules or principles.  See Beaumont Bank,
N.A. v. Buller, 806 S.W.2d 223, 226 (Tex. 1991).

	Findings of the juvenile court are reviewable for legal and factual sufficiency.  In re
C.C., 13 S.W.3d 854, 857 (Tex. App.--Austin 2000, no pet.) (op. on reh'g).  In reviewing for factual
sufficiency, we consider and weigh all of the evidence, and if the finding is so against the great
weight and preponderance of the evidence as to be manifestly unjust, we set aside the disposition
order and remand the case for a new disposition hearing.  Id.  In reviewing for legal sufficiency, we
consider the evidence in the light most favorable to the finding and determine whether any rational
trier of fact could have found that the elements of the requirement were proved beyond a reasonable
doubt.  Id.; In re M.S., 940 S.W.2d at 791-92.

Disposition without adjudication-hearing transcript

	In his first point of error, D.L.T. contends that the trial court abused its discretion in
conducting the disposition hearing without receiving evidence of facts adduced at the adjudication
hearing.  He argues that at the disposition hearing, the court had the stipulation of evidence and
the&nbsp;adjudication order but lacked a transcript of the adjudication hearing.  D.L.T. failed to take any
action preserving this complaint with the trial court.  As a general rule, a complaint must be raised
in the trial court as a prerequisite for appellate consideration.  Tex. R. App. P. 33.1(a).  Because
D.L.T. did not object to conducting the disposition hearing without a transcript from the adjudication
hearing (nor did he request preparation of the reporter's record), he waived this complaint.  See id.;
see also In re V.J., No. 12-05-00324-CV, 2006 Tex. App. LEXIS 6063, at *3-4 (Tex. App.--Tyler
2006, no pet.) (mem. op.).

	Even if D.L.T.'s complaint were preserved, nothing in the family code requires a
juvenile court to order preparation of the reporter's record of the adjudication hearing and to consider
that record in making its disposition.  While subsection 54.04(b) of the family code contains a
hearsay exception expanding the information that is available for the juvenile court's consideration,
see Tex. Fam. Code Ann. § 54.04(b); In re C.J.H., 79 S.W.3d 698, 705 (Tex. App.--Fort Worth
2002, no pet.), the code does not specify that the court must order a reporter's record sua sponte and
consider that information, even if the court has been provided with a stipulation of evidence from
the juvenile, a court summary from the juvenile's probation officer, and a placement report from
CPS.  We overrule D.L.T.'s first point of error.


Sufficiency of evidence supporting order of commitment

	In his second point of error, D.L.T. contends that there is insufficient evidence
supporting the court's order committing him to TYC.  A court may commit a child to TYC without
a determinate sentence if the court finds that there is a need for disposition and that the child engaged
in delinquent conduct violating a penal law of the State of Texas of the grade of felony.  See
Tex.&nbsp;Fam. Code Ann. § 54.04(d)(2).  The court must also find that:  (1) it is in the child's best
interest to be placed outside the home; (2) reasonable efforts were made to prevent or eliminate the
need for the child's removal from the home; and (3)&nbsp;the child cannot receive the quality of care and
level of support and supervision at home that is necessary to meet the conditions of probation.  Id. 
§&nbsp;54.04(i)(1) (West Supp. 2007); In re C.C., 13 S.W.3d at 857.  D.L.T. was statutorily eligible for
TYC because he was adjudged delinquent for the commission of a felony.  He does not contend
that&nbsp;the statutory requirements of subsection 54.04(i)(1) have not been met.  The juvenile court's
"Dispositional Order of Commitment to the Texas Youth Commission" contains each of the findings
required by subsection 54.04(i)(1).

	Moreover, the court had sufficient evidence to support the findings in its order of
commitment.  D.L.T. acknowledges that the court summary included his charges for aggravated
sexual assault of a child (which was dismissed pending further investigation) and unauthorized use
of a vehicle, and disclosed his active warrant for criminal mischief.  But he argues that he should not
be committed to TYC because he had no prior adjudications and his current offense was nonviolent
and "fairly minor."  However, the record reflects that D.L.T. stipulated to his unauthorized use of
a motor vehicle in Hays County, a felony offense that made him eligible for commitment to TYC. 
See  Tex. Fam. Code Ann. § 54.04(d)(2); Tex. Penal Code Ann. § 31.07.  The probation officer noted
that D.L.T. was eligible for TYC commitment and a report from CPS showed that it agreed with the
Hays County juvenile probation officer who stated that "the recommendation for [D.L.T.] might be
for him to go to TYC."

	The court had evidence supporting its finding that it was in D.L.T.'s best interest to
be placed outside the home, that reasonable efforts were made to prevent or eliminate the need for
D.L.T.'s removal from his foster home, and that D.L.T. was not being provided the quality of care
and level of support and supervision in his home that he needed to otherwise meet the conditions of
probation.  D.L.T. had already spent two years at a residential treatment center.  After his release,
he was placed in foster homes twice, both times unsuccessfully.  D.L.T. ran away from his foster
parents, demonstrated a pattern of truancy and behavioral problems in school, and was not
progressing well in therapy.  Moreover, according to the CPS report, D.L.T. broke into the home
of&nbsp;his former foster parents, stole their money and electronics, and took their car.  There was no
evidence that appellant's mother, another relative, or foster home could provide the quality of care
and level of support and supervision that D.L.T. needed.

	Based on these facts in the record, the court stated:


I'm going to put [D.L.T.] in TYC. . . . [D.L.T.] needs counseling but [he] is breaking
the law on a repeated basis and sabotaging every effort that CPS is setting up to help
him.  These last offenses, quite frankly, I don't see them as psychological offenses. 
They're just crimes.  It's a series of crimes, apparently for the fun of it, with
absolutely no thought to his responsibility for that at all.  So I'm going to commit
[D.L.T.] to TYC.



	After considering and weighing all of the evidence in a neutral light, we conclude that
the court's findings supporting the order of commitment to TYC are not so contrary to the great
weight and preponderance of the evidence as to be manifestly unjust.  See In re C.C., 13 S.W.3d at
857.  Thus, the evidence is factually sufficient to support the court's findings.  Additionally, after
considering the evidence in the light most favorable to the findings, we conclude that any rational
trier of fact could have found that the requirements of subsection 54.04(i)(1) supporting the order
of commitment to TYC were proved beyond a reasonable doubt.  See In re M.S., 940 S.W.2d at
791-92; In re J.D., 773 S.W.2d 604, 606 (Tex. App.--Texarkana 1989, writ dism'd w.o.j.) (holding
that evidence in record of juvenile's background, behavioral problems, and lack of appropriate
alternatives for rehabilitation were sufficient to support trial court's order of indefinite commitment
to TYC).  Accordingly, the evidence is legally sufficient to support the findings.

	Because the trial court's findings are supported by the record, it did not abuse its
discretion in committing D.L.T. to TYC.  D.L.T.'s second point of error is overruled.


CONCLUSION

	Having overruled both of D.L.T.'s points of error, we affirm the trial court's order.



					                                                                                     					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Patterson and Puryear

Affirmed

Filed:   July 9, 2008
1.   Section 51.07 of the family code authorizes a juvenile court to transfer a case for
disposition from the county in which the offense occurred to the county of the child's residence. 
Tex. Fam. Code Ann. § 51.07 (West Supp. 2007).
2.   The Hays County Court at Law and the Travis County District Court sat as juvenile courts. 
The disposition hearing in Travis County was conducted by an associate judge who, along with
Judge Meurer, signed D.L.T.'s Dispositional Order of Commitment to the Texas Youth Commission.
3.   A reporter's record of the adjudication hearing was not prepared or requested.
4.   D.L.T.'s stipulation to the court, in relevant part, states:


After having been sworn, upon oath, said Child [D.L.T.] in the presence of the
Child's attorney does hereby in open Court make the following judicial statement and
confess to the following facts and agrees and stipulates that these facts are true and
correct and constitute the evidence in this case.


I, [D.L.T.], was born on the [] day of [], 1991, and I further admit that:


COUNT I.  THEFT &gt; = $20,000 &lt; $100,000

On or about the 4th day of December A.D., 2005, in Hays County, Texas, [D.L.T.]
did then and there appropriate property; to-wit:  a Ford pickup of a value of equal to
$20,000.00 or more dollars, but less than $100,000.00 dollars; with the intent to
deprive the owner, James T. Nelson, of said property;

		

Such conduct violates a penal law of the State of Texas punishable by imprisonment
or confinement in jail, to-wit: Section 31.03 of the Texas Penal Code, and is
delinquent conduct as defined in Section 51.03(a) of the Texas Family Code.


COUNT II.  UNAUTHORIZED USE OF MOTOR VEHICLE

On or about the 4th day of December A.D., 2005, in Hays County, Texas, [D.L.T.]
did then and there intentionally or knowingly operate a motor-propelled vehicle,
namely:  a 2006 Ford pick up, without the effective consent of James T. Nelson, the
owner thereof;


Such conduct violates a penal law of the State of Texas punishable by imprisonment
or confinement in jail, to-wit: Section 31.07 of the Texas Penal Code, and is
delinquent conduct as defined in Section 51.03(a) of the Texas Family Code.
5.   D.L.T. (and his attorney) also waived his rights to trial, confrontation of witnesses, and
trial&nbsp;by jury.
6.   The last paragraph of the stipulation appears above the judge's signature and states, "The
foregoing Stipulation of Evidence having been made and signed by the Child and the Attorney for
the Child in open court is hereby considered approved and granted."
7.   A docket sheet notation indicates that the case was transferred from Hays County for
disposition because Child Protective Services has joint managing conservatorship with D.L.T.'s
mother in Travis County.
8.   The second page of the ten-page report from CPS (page 107 of the clerk's record) is
missing and has not been located by the Travis County Clerk's Office.  However, the information
in the remainder of the report is sufficient to support the court's ruling.


